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AO 91 (Rev. 11/11) Criminal Complaint



                                                UNITED STATES DISTRICT COURT
                                                                                              for the
                                                                                  District of &ROXPELD

                     United States of America                                                     )
                                v.                                                                )
                                                                                                  )          Case No.
                   RODNEY MILSTREED
                                                                                                  )
                     DOB: XXXXXX                                                                  )
                                                                                                  )      Colorado Case: 22-mj-00093-MEH
                                                                                                  )
                                  Defendant(s)


                                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                    January 6, 2021                               in the county of                                          in the
                                LQWKH'LVWULFWRI                  &ROXPELD , the defendant(s) violated:

              Code Section                                                                                       Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury;
        18 U.S.C. § 113(a)(4)- Assault by striking, beating, or wounding;
        18 U.S.C. § 113(a)(5)- Simple assault;
        18 U.S.C. § 231(a)(3)- Civil Disorder;
        18 U.S.C. §§ 1512(c)(2)- Obstruction of an Official Proceeding;
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds;
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
        40 U.S.C. § 5104(e)(2)(E)- Impeding Passage Through the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings.


          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u     Continued on the attached sheet.


                                                                                                                                           Complainant’s signature

                                                                                                                                Nicole Fuller, Special Agent
                                                                                                                                            Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                                                        2022.05.18
Date:                05/18/2022
                                                                                                                                                        17:19:18 -04'00'
                                                                                                                                               Judge’s signature

City and state:                                 :DVKLQJWRQ'&                                                Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                            Printed name and title
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                                   STATEMENT OF FACTS

        Your affiant, Nicole Fuller, is a Special Agent with the Federal Bureau of Investigation
(FBI). Currently, I am tasked with investigating criminal activity in and around the Capitol grounds
on January 6, 2021. As a Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

                       Background – the U.S. Capitol on January 6, 2021

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
USCP. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and USCP were present and attempting to keep the crowd away from the Capitol
building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the USCP attempted
to maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by
assaulting members of the USCP, as others in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene, as well as Body Worn


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Cameras (BWC) of law enforcement officers of the Washington, D.C. Metro Police Department
(MPD) and footage taken by USCP personnel, depicted evidence of violations of local and federal
law, including scores of individuals inside the U.S. Capitol building without authority to be there.

        Additionally, news coverage of January 6, 2021, documented numerous attacks on
members of the news media who were present to cover the events at, around, and in the U.S.
Capitol building. These included reports of members of the news media being harassed, threatened,
robbed, and assaulted based on their perceived roles as journalists, and equipment belonging to
several news organizations was stolen, damaged, and/or destroyed.

                                Facts Specific to This Complaint

        Several videos from various sources taken during assaults on January 6, 2021, at the United
States Capitol depict an individual, later identified as RODNEY KENNETH MILSTREED,
assaulting law enforcement officers, and a member of the news media (MONM), specifically, a
photographer assigned to the Associated Press (the MONM victim). All these crimes occurred in
the general area of the West Terrace of the U.S. Capitol Building between approximately 1:00 p.m.
and 2:00 p.m. on January 6, 2021. Video footage taken during the riot by surveillance cameras,
law enforcement officials, and other rioters show that the individual is a Caucasian male wearing
a camouflage-patterned hooded sweatshirt with a yellow drawstring in the hood, glasses (possibly
with transition lenses, which darken when exposed to sunlight) in rectangular shape with rounded
corners, what appears to be a dark green neck gaiter, and a navy baseball cap.

        FBI Baltimore received a tip from Witness 1 who knows MILSTREED personally and had
information that MILSTREED was at the U.S. Capitol on January 6, 2021. MILSTREED sent
Witness 1 a photo of MILSTREED outside of the U.S. Capitol Building on (what appears to be)
January 6, 2021 (Photo B) and claimed that he had assaulted a member of the news media. Prior
to January 6, 2021, MILSTREED also made comments that were violent in nature concerning the
events that would occur that day, including claiming allegiance to the Proud Boys 1 and informing
of their intended presence and intent to quash any opposition in Washington, D.C. on January 6,
2021. Witness 1 provided a copy of Photo B and MILSTREED’s comments to the FBI. Witness
1 also reported MILSTREED’s phone number and residential address in Finksburg, Maryland. I
have independently confirmed through Verizon records that the phone number Witness 1 provided
is registered to MILSTREED. (Verizon records reveal that MILSTREED made calls with an
origination location of Washington, D.C. on January 6, 2021.) Further, I have independently
confirmed through Maryland Motor Vehicle Administration (“MVA”) records that
MILSTREED’s address is the same as that provided by Witness 1.

        Based on that tip, I compared MILSTREED’s known images, including a booking photo
taken in 2005, his more recent driver’s license photo, and a selfie-style photo I found in a search
       1
         Proud Boys is a nationalist organization with multiple US chapters and potential activity
in other Western countries. Proud Boys members routinely attend rallies, protests, and other First
Amendment-protected events, where they sometimes engage in violence against individuals whom
they perceive as threats to their values. The group has an initiation process for new members, who
often wear yellow and black polo shirts or other apparel adorned with the Proud Boys logo to
events.
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of the Facebook account registered to MILSTREED (discussed below) (Photo A) to the photo
provided by Witness 1 (Photo B) and to riot footage, including a video of MILSTREED speaking
to a camera on January 6 (Photo C). Based on this comparison, and on additional information
from MILSTREED’s Facebook records described below, I believe MILSTREED is the individual
described above who committed the assaults described next. 2

           PHOTO A                         PHOTO B                          PHOTO C




                         MILSTREED’s Assault on Law Enforcement

        USCP Crime Scene Search personnel took video which captured the front steps of the
Capitol’s Upper West Plaza. As shown in Photo D below, MILSTREED is in the crowd, appearing
to be looking down at his cellular phone. A group of USCP Officers, dressed in all black and
equipped with helmets and other riot gear, can be seen standing to the left of the crowd, blocking
the steps to the Capitol Building.3 MILSTREED makes his way through the crowd, advancing
towards USCP Officers. At one point, MILSTREED picks up what appears to be a flagpole bearing
a navy flag off the ground and throws it, javelin-style, in the direction of USCP Officers (Photo


       2
         On or about August 19, 2021, the FBI Washington Field Office received a separate tip
from a different individual (“the other tipster”) regarding the individual in Photo C. The other
tipster identified this person as his/her neighbor (“the neighbor”), someone other than
MILSTREED. The FBI investigated the lead and interviewed the other tipster. However, for the
reasons explained throughout this Statement of Facts, I believe the other tipster was mistaken and
the individual in the U.S. Capitol footage described here is in fact MILSTREED.
       3
         “U.S. Capitol Police” in white lettering can be read across the back of many black jackets
and black helmets worn by law enforcement. “U.S. Capitol Police” cannot be seen on every law
enforcement officer (due to the video angle and distance and large crowds), but your affiant
believes the unidentified law enforcement victim is a USCP Officer, as he/she is standing among
other USCP Officers and appears to be wearing a helmet of the same style and color.
                                                3
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E). The flagpole appears to strike one of the USCP Officers. My comparison of this footage with
surveillance camera footage suggests it occurred at approximately 1:10 p.m.

                                         PHOTO D




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                                          PHOTO E




        A second video taken by USCP Crime Scene Search personnel, which captured the same
events described above, from a different camera angle, shows MILSTREED holding the flagpole
in the air with one arm (Photo F), and then throwing the flagpole towards USCP Officers, striking
one officer (Photo G).

                                          PHOTO F




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                                           PHOTO G




         In addition to this incident, I have reviewed video, including body-worn camera footage of
an MPD officer at the U.S. Capitol and a publicly available video (which is accessible through the
following link: https://ia904505.us.archive.org/5/items/p3CppCyeHTughshQB/p3CppCyeHTugh
shQB.mpeg4) showing MILSTREED attempting to break the police line shortly after 2:00 p.m.
This video appears to have been taken on the Capitol grounds, where law enforcement officers
from USCP and MPD had formed a line of bike rack-style barricades to act as a barrier against the
crowd. Officers were standing watch behind this line and fending off repeated attempts by the
rioters to pull on the bike racks and assault the officers. At approximately 2:05 p.m., MILSTREED
can be seen approaching the barricade, and he then grabs and pulls on one of the bike racks (Photo
H). An MPD officer is heard repeatedly yelling “back off” or “back up,” and then sprays
MILSTREED with what appears to be pepper spray or OC spray (Photo I).




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                                         PHOTO H




                                          PHOTO I




        I have also reviewed publicly available video that appears to show MILSTREED engaged
in another assault on law enforcement. This video, named “US capitol protests. Why were cops
attacking us?” is accessible on YouTube via the following link: https://www.youtube.com/
watch?v=Qdr3mltKHA0&t=1633s. This video appears to have been taken from a position on or
atop the media tower that had been constructed on the Lower West Terrace in preparation for the
Presidential Inauguration. As described above, law enforcement officers from USCP and MPD
had formed a barricade to separate from the crowd and fend off repeated attempts by rioters to
assault officers.

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        At one point, smoke can be seen on the side of the barricade where law enforcement
officers are standing. One of the law enforcement officers picks up what appears to be a smoke
grenade off the ground and throws it towards the crowd of rioters, as seen in Photo J below.

                                         PHOTO J




       The object lands in the crowd of rioters, and MILSTREED runs towards it (Photo K).
MILSTREED then picks up the smoke grenade and launches it back towards law enforcement
(Photo L).




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                                 PHOTO K




                                 PHOTO L




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                  MILLSTREED’s Assault on a Member of the News Media

        According to a video posted to the Instagram account of an Associated Press photographer
(the MONM witness), the MONM victim was assaulted by members of the crowd on the Upper
West Plaza of the U.S. Capitol. The MONM witness, who was the MONM victim’s colleague,
was present with the MONM victim during the assault and filmed the incident as it occurred. The
video appears to be unavailable on Instagram at this time, but the footage was reposted by various
media outlets on their respective websites and incorporated into reporting about the events of
January 6, 2021 (e.g., an article by Associated Press journalist David Bauder, titled “Journalists
recount harrowing attacks amid Capitol Riot” posted on the Associated Press’s website on January
8, 2021, and currently accessible at: https://apnews.com/article/donald-trump-new-york-
journalists-media-social-media-cba6bd7b93be0ade1da714a32c33d74c).

        I reviewed the aforementioned video and footage from MPD body-worn camera. At
approximately 1:35 p.m., the MONM victim was observed in the vicinity of the Capitol Building,
near the Lower West Terrace of the Capitol grounds. The MONM victim was dressed in all black
and appeared to be wearing a helmet-style gas mask, a lanyard displaying credentials, at least one
camera, and a backpack. MILSTREED grabbed the MONM victim’s backpack and pulled him
backwards down the stairs. MILSTREED then shoved the MONM victim and advanced towards
him in a threatening fashion. MILSTREED is shown assaulting the MONM victim in Photos M
and N below.

                                          PHOTO M




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                                            PHOTO N




       According to video footage MILSTREED sent to associates via Facebook, he then made
his way to the northwest lawn, where he filmed rioters appropriating bike rack barriers to scale the
U.S. Capitol walls and reach the steps to the Upper West Terrace. MILSTREED joined the crowd
to climb the steps to the Upper West Terrace close to where the Senate Wing Door was breached.
An individual who I believe to be MILSTREED, based on my review of MILSTREED’s Facebook
videos and other BWC and media footage that includes his voice, can be heard yelling “Here we
go” and “Fuck yeah, shit’s gonna get real.” Photo O below is captured from this video footage.

                                            PHOTO O




     I have located video camera footage from two MPD body-worn cameras (“Axon Body 3
X6039BDE3” and “Axon Body 3 X6039BHBB”), both capturing MILSTREED on the Upper


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West Terrace of the U.S. Capitol Building at approximately 2:47 p.m. and 2:50 p.m., respectively.
Images from this video footage are shown in Photos P and Q below.

                                          PHOTO P




                                          PHOTO Q




          MILSTREED Planned for and Celebrated the Violence at the U.S. Capitol

        After the 2020 Presidential election, MILSTREED made comments and posts on social
media suggesting his intent to commit violence on January 6. Facebook records show that an
account under the name “Rodney Milstreed” is registered to MILSTREED and associated with the
same phone number provided by Witness 1 and registered to MILSTREED by Verizon. According
to information Facebook provided in response to a search warrant for MILSTREED’s account
records, on November 9, 2020, six days after the Presidential election, MILSTREED messaged a
friend, “Gonna get ugly when they overturn these vites[,]” then corrected, “Votes[.]”
MILSTREED then sent the following two photos (Photos R and S), obtained from
MILSTREED’s Facebook records, showing what appears to be two assault weapons, two upper

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receivers, miscellaneous gun parts, several loaded magazines, and multiple large boxes of
ammunition. MILSTREED added, “just a few” and “Some of the sleeping giant” and sent a photo
of himself wearing a neck gaiter that appears similar to the neck gaiter he is seen wearing at the
U.S. Capitol on January 6, apparently referring to himself as “Skin head and all son[.]” 4

                                           PHOTO R




       4
         Although in this photo, MILSTREED appears to be wearing the same neck gaiter as he
wore to the U.S. Capitol on January 6, I have not obtained evidence to suggest that he was in
possession of any firearms in Washington D.C. during the riot that day.
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                                           PHOTO S




        On November 25, 2020, in what appears to be a discussion about election-related lawsuits,
MILSTREED posted a reply to a comment, “I pray every night . I hope we dont have to hurt
anyone. THESE JUDGES BETTER DO THE RIGHT THING.” On December 23, 2020,
MILSTREED commented on a post by then-President Trump, “To hell with them Trump don’t
hand over the keys. We will handle the outside u handle the inside.” Based on my review of
MILSTREED’s other social media comments, I believe this is a reference to MILSTREED’s hope
that Trump would continue to occupy the White House, and that MILSTREED was willing to use
violence to assist that goal. On December 28, 2020, he messaged a friend, “I have a feeling things
will get out of hand next week.”

        Facebook records also reveal that MILSTREED communicated with others on the
afternoon of January 6, while he was at the U.S. Captiol grounds. At around 2:00 p.m., when a
friend asked him what was going on and noted he heard there had been a shooting, MILSTREED
replied, “We are gonna take the building[.]” To another friend, he reported, “Getting ready to take
the building[.]” He sent photos of blood on the floor in what appears to be the Upper West Plaza
and then later added, “Man I’ve never seen anything like this . I feel so alive.” That evening, at
around 5:00 p.m., he messaged a different Facebook friend, “We fucked them federal cops up.
They all ran when we got physical. LMFAO[.]” He then added, “Time for war.” MILSTREED
sent similar messages to other Facebook associates, describing the fact that “They had to shot one
of us” as “Bad ass son[.]”


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       Three days after the riot, on January 9, 2021, MILSTREED messaged a Facebook associate
to describe his participation in the violence at the U.S. Capitol and his intention to “crack some
heads” while he was there, as follows:




                                        Criminal Violations

        Based on the foregoing, your affiant submits that there is probable cause to believe that
RODNEY KENNETH MILSTREED violated 18 U.S.C. § 111(a)(1) and (b), which makes it a
crime to forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated
in section 1114 of Title 18 while engaged in or on account of the performance of official duties,
while using a deadly or dangerous weapon. Persons designated within section 1114 of Title 18
include federal officers such as USCP officers, and include any person assisting an officer or
employee of the United States in the performance of their official duties and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

        Your affiant further submits that there is probable cause to believe that RODNEY
KENNETH MILSTREED violated 18 U.S.C. § 113(a)(4) and (5), which makes it unlawful, within
the special and maritime jurisdiction of the United States, (4) to commit an assault by striking,
beating, or wounding; and (5) to commit a simple assault; and aiding and abetting in such crimes.
The U.S. Capitol and the U.S. Capitol grounds constitute the “territorial jurisdiction” of the United
States as “lands reserved or acquired for the use of the United States” and under its “exclusive or
concurrent jurisdiction.” 18 U.S.C. § 7(3).

        Your affiant further submits that there is probable cause to believe that RODNEY
KENNETH MILSTREED violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or

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performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

       Your affiant further submits that there is probable cause to believe that RODNEY
KENNETH MILSTREED violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct,
influence, or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515,
congressional proceedings are official proceedings.

        Your affiant further submits that there is probable cause to believe that RODNEY
KENNETH MILSTREED violated 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engages in any
act of physical violence against any person or property in any restricted building or grounds; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant further submits that there is probable cause to believe that RODNEY
KENNETH MILSTREED violated 40 U.S.C. § 5104(e)(2)(D), (E), and (F), which makes it a
crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations
of, a committee of Congress or either House of Congress; (E) obstruct, or impede passage through
or within, the Grounds or any of the Capitol Buildings; and (F) engage in an act of physical
violence in the Grounds or any of the Capitol Buildings.




                                                      _________________________________
                                                      Nicole Fuller
                                                      Special Agent
                                                      Federal Bureau of Investigation




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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of May 2022.


                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE




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